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5    Attorneys for Defendant
     RUSSELL EUGENE GILMORE
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7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                         )   Case No. 2:13-cr-300 GEB
                                                       )
11                              Plaintiff,             )   STIPULATION AND [PROPOSED] ORDER
                                                       )   TO CONTINUE STATUS CONFERENCE TO
12           v.                                        )   APRIL 4, 2014; EXCLUDE TIME
                                                       )
13   RUSSELL EUGENE GILMORE, et al.,                   )   Date: April 4, 2014
                                                       )   Time: 9:00 a.m.
14                              Defendants.            )   Judge: Hon. Garland E. Burrell, Jr.
                                                       )
15
16             Plaintiff United States of America, by and through its counsel of record, and defendants,
17   by and through their respective counsel of record, hereby stipulate as follows:
18             1.         By previous order, this matter was set for status on February 28, 2014.
19             2.         By this stipulation, defendants now move to continue the status conference until
20   April 4, 2014 at 9:00 a.m., before the Honorable Garland E. Burrell Jr. and to exclude time
21   between February 24, 2014 and April 4, 2014 under Local Code T4. Plaintiff does not oppose
22   this request.
23             3.         The parties agree and stipulate, and request that the Court find the following:
24                        a.     Counsel for defendant, GILMORE, is in trial before Judge Shubb in case
25   US v. Longley, et al., (11-cr-511 WBS).
26                        b.     The government has produced initial discovery associated with this case.
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      Stipulation to Continue                              -1-               United States v. Mahan, et al., 2:13-cr-300 GEB
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1                         c.     Counsel for defendants request additional time to review discovery, to
2    conduct investigation and research related to the charges, to discuss potential resolutions with
3    their clients, and to otherwise prepare for trial.
4                         d.     Counsel for defendants believe that failure to grant the above-requested
5    continuance would deny them the reasonable time necessary for effective preparation, taking into
6    account the exercise of due diligence.
7                         e.     The government does not object to the continuance.
8                         f.     Based on the above-stated findings, the ends of justice served by
9    continuing the case as requested outweigh the interest of the public and the defendants in a trial
10   within the original date prescribed by the Speedy Trial Act.
11                        g.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
12   § 3161, et seq., within which trial must commence, the time period between the date of the
13   parties' stipulation, February 24, 2014 and the new status conference on April 4, 2014, inclusive,
14   is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), (B)(iv) [Local Code T4] because it
15   results from a continuance granted by the Court at defendants’ request on the basis of the Court's
16   finding that the ends of justice served by taking such action outweigh the best interest of the
17   public and the defendants in a speedy trial.
18             4.         Nothing in this stipulation and order shall preclude a finding that other provisions
19   of the Speedy Trial Act dictate that additional time periods are excludable from the time period
20   within which a trial must commence.
21   IT IS SO STIPULATED.
22   Dated: February 24, 2014                           BENJAMIN B. WAGNER
23                                                      United States Attorney

24
                                                        /s/ Samuel Wong
25                                                      SAMUEL WONG
                                                        Assistant United States Attorney
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      Stipulation to Continue                              -2-               United States v. Mahan, et al., 2:13-cr-300 GEB
       Case 2:13-cr-00300-GEB Document 31 Filed 02/26/14 Page 3 of 3


1    DATED: February 24, 2014                        /s/ Patrick K. Hanly
                                                    PATRICK K. HANLY
2                                                   Counsel for Defendant
3                                                   John H. Mahan

4    DATED: February 24, 2014                       /s/ Matthew Bockmon
                                                    MATTHEW C. BOCKMON
5                                                   Counsel for Defendant
                                                    Russell E. Gilmore
6
7    DATED: February 24, 2014                       /s/ Michael Bigelow
                                                    MICHAEL BIGELOW
8                                                   Counsel for Defendant
                                                    Richard D. Hemsley
9
10
                                                    ORDER
11
     The Court, having received, read, and considered the stipulation of the parties, and good cause
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     appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the
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     representation of the parties and good cause appearing therefrom, the Court hereby finds that the
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     failure to grant a continuance in this case would deny defense counsel reasonable time necessary
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     for effective preparation, taking into account the exercise of due diligence. The Court finds that
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     the ends of justice to be served by granting a continuance outweigh the best interests of the
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     public and the defendants in a speedy trial. It is ordered that time beginning from the parties'
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     stipulation on February 24, 2014, up to and including the April 4, 2014, status conference shall
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     be excluded from computation of time within which the trial of this matter must be commenced
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     under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h) (7) (A) and (B) (iv) and Local Code
21
     T 4, to allow defense counsel reasonable time to prepare.
22
     IT IS SO ORDERED.
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     Dated: February 25, 2014
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      Stipulation to Continue                         -3-                United States v. Mahan, et al., 2:13-cr-300 GEB
